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   7   Attorney for Defendant,
       PALM TREE HOSPITALITY CORPORATION
   8
   9                       UNITED STATES DISTRICT COURT
  10                     SOUTHERN DISTRICT OF CALIFORNIA
  11   JAMES RUTHERFORD, an           )       Case No.: 19-CV-1569-JLS-WVG
  12   individual                     )
                                      )       NOTICE OF LODGING
  13
                    Plaintiff,        )       DEFENDANT’S APPEARANCE AT
  14                                  )       JOINT STATUS CONFERENCE
  15   vs.                            )       AND TELEPHONE NUMBER
                                      )
  16   PALM TREE HOSPITALITY          )
  17   CORPORATION, a California      )       Date:     November 22, 2019
       corporation,                   )       Time:     9:00 a.m.
  18
                                      )       Telephone Number: 619-744-9992
  19                  Defendants.     )
  20                                  )       Complaint Filed: August 21, 2019
       ______________________________ )       Trial Date: Settled
  21
  22         TO THE COURT AND ALL PARTIES HEREIN:
  23         PLEASE TAKE NOTICE that Defendant, Palm Tree Hospitality
  24   Corporation’s Counsel, Jason P. Saccuzzo will appear via telephone at the Joint
  25   Status Conference on Friday, November 22, 2019 at 9:00 a.m.
  26   ///
  27   ///
  28   ///
                                              1
             NOTICE OF LODGING DEFENDANT’S APPEARANCE AT JOINT STATUS CONFERENCE
                                    AND TELEPHONE NUMBER
Case 3:19-cv-01569-JLS-WVG Document 8 Filed 11/19/19 PageID.36 Page 2 of 4




   1        Defendant’s counsel will be available via 619-744-9992, extension 101.
   2
       Dated: November 19, 2019                    VIVOLI SACCUZZO, LLP
   3
   4                                         By: _/s/ Jason P. Saccuzzo
                                                JASON P. SACCUZZO
   5
                                                DUSTIN A. PINDER
   6                                            Attorney for Defendant,
                                                 PALM TREE HOSPITALITY
   7                                             CORPORATION
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                                             2
            NOTICE OF LODGING DEFENDANT’S APPEARANCE AT JOINT STATUS CONFERENCE
                                   AND TELEPHONE NUMBER
Case 3:19-cv-01569-JLS-WVG Document 8 Filed 11/19/19 PageID.37 Page 3 of 4



                                United States District Court
                               Southern District of California


  James Rutherford, an                         ) CASE NO: 19-cv-1569-JLS-WVG
  individual,                                  )
                                               ) DECLARATION OF SERVICE
                 Plaintiff,                    )
                                               )
  v.                                           )
                                               )
  Palm Tree Hospitality Corporation, a         )
  California corporation;                      )
                                               )
                                               )
                                               )
              Defendants.                      )
  __________________________________ )

  PARTY SERVED:

       Joseph R. Manning, Jr., Esq.         Attorney for Plaintiff
       20062 SW Birch Street, Suite 200     Tel: 949-200-8755
       Newport Beach, CA 92660              Email: disabilityrights@manninglawoffice.com

          I, the undersigned declare under penalty of perjury that I am over the age of
  eighteen years and not a party to this action. My business address is 3104 Fourth
  Avenue, San Diego, California 92103. On November 19, 2019 I served the person(s)
  listed above the following documents: Notice of Lodging Defendant’s Appearance at
  Joint Status Conference and Telephone Number

  in the following manner:

  1)    By Personal Service on Counsel for Defendants. By placing a true copy thereof
  enclosed in a sealed envelope(s), and caused such envelope(s) to be delivered by hand to
  each party at the address shown above.

  2)      By Mail. I caused such envelope to be placed for collection and mailing on this
  date in the ordinary course of business at San Diego, California. The envelope was
  mailed with postage thereon fully prepaid. I am readily familiar with this firm’s practice
  for collecting and processing correspondence for mailing. [See Above]

  3)          By Certified Mail. I caused such envelope to be placed for collection and
  certified mailing on this date in the ordinary course of business at San Diego, California.
  The envelope was mailed with postage thereon fully prepaid. I am readily familiar with
  this firm’s practice for collecting and processing correspondence for certified mailing.


                                                                          Declaration of Service
                                                                  Case No.: 19cv1569-JLS-WVG
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